                    IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI WESTERN
                                 WESTERN DIVISION

KANSAS CITY CEMENT MASONS                             )
PENSION FUND, et al.,                                 )
                                                      )
                               Plaintiffs,            )
                                                      )
         v.                                           )      Civil Action Number
                                                      )      16-01258-CV-W-JTM
LAN-TEL COMMUNICATIONS                                )
SERVICES, INC.,                                       )
                                                      )
                               Defendant.             )

                                 JUDGMENT IN A CIVIL ACTION
 
           Jury Verdict. This action came before the Court for a trial by jury. The issues have been
    tried and the jury has rendered its verdict.
 
     X    Decision by Court. The issues have been considered and a decision has been rendered
          by the Court.
 
IT IS ORDERED AND ADJUDGED that Plaintiff’s Motion for Summary Judgment, filed

January 2, 2018 [Doc. 16] is GRANTED. Judgment is GRANTED in favor of Plaintiffs and

against Defendant in the amount of $36,537.70 pursuant to ERISA Sections 502 and 515.



 
 
 
    March 7, 2018                        Paige Wymore-Wynn
    Dated                                Clerk of Court
 
    March 7, 2018                       /s/ Jane Stepp
    Entered                             (by) Judicial Assistant




              Case 4:16-cv-01258-JTM Document 24 Filed 03/07/18 Page 1 of 1
